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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

THE FINAL CO. LLC,
                                                   Case No. 20-cv-02640
                       Plaintiff,
                                                   Judge Harry D. Leinenweber
       v.
                                                   Magistrate Judge Maria Valdez
16BEAUTYDAY, et al.,

                       Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff The Final Co.

LLC’s (“Final” or “Plaintiff”) hereby dismisses this action, with leave to reinstate within one

hundred and eighty (180) days, against the following Defendants:

               Defendant Name                                        Line No.
                 bigbig_home                                            11
                  bigbig_love                                           12
                   mq.d.store                                           42
                   yuanhatra                                            61
                    jiangyu                                             91
                    paohuo                                              99
                    pepeng                                             100
                    popeng                                             101
                    tininess                                           110
                    varition                                           113
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Dated this 10th day of July 2020.    Respectfully submitted,

                                     /s/ Allyson M. Martin
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                                     Justin R. Gaudio
                                     Allyson M. Martin
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